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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 No. 4:04CR00291-01 JLH

BOBBY GLENN BANKS                                                                  DEFENDANT


                                         JUDGMENT

       Pursuant to the Opinion and Order entered separately today, the motion to vacate, set aside,

or correct a sentence by a person in federal custody filed by Bobby Glenn Banks pursuant to

28 U.S.C. § 2255 is dismissed with prejudice.

       IT IS SO ORDERED this 9th day of March, 2009.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
